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             In tl^e ?Htttteti ^tates( IBtfi(tnct Conrt
             for     ^ottffiem Bttstrttf of 4^eorgta
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STATE OF GEORGIA, et al..
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      Plaintiffs,
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                                         *
      V.                                                   No. 2:15-cv-79
                                         *

                                         *
ANDREW WHEELER, et al..
                                         *


                                         *
      Defendants.

                                    ORDER


     Before the Court is a motion to withdraw the appearance of

attorney    Jennifer    A.   Sorenson,       filed    by   Intervenor-Defendants

National Wildlife Federation and One Hundred Miles.                      Dkt. No. 245.


Ms. Sorenson       no longer   works at the          Natural Resources        Defense

Council, and Intervenor-Defendants will continue to be represented

by Catherine M. Wannamaker, Christopher K. DeScherer, Megan Hinkle

Huynh, and James Blanding Holman.              After consideration, and for

good cause shown, the motion is GRANTED.               The Clerk is DIRECTED to

terminate    Ms.    Sorenson   as   counsel      of    record      for    Intervenor-


Defendants    National   Wildlife    Federation        and   One    Hundred    Miles.


The Clerk is further DIRECTED to terminate the Natural Resources


Defense Council and South Carolina Coastal Conservation League.

Those two groups are not parties to this matter.                     See Dkt. Nos.

36, 94 & 182.
              Case 2:15-cv-00079-LGW-BWC Document 246 Filed 02/08/19 Page 2 of 2




                  so ORDERED, this        day of February, 2(^19.




                                              HON. LJSA GOOBEY WOOD, JUDGE
                                              UNITEl/ STATES DISTRICT COURT
                                              SoWfERN DISTRICT OF GEORGIA




AO 72A
(Rev. 8/82)
